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May 2, 2024



           PiJOHN HALEY
            • 229 MAIN ST
              BROWNFIELD, ME 04010




Account Number:
Property Address: 229 MAIN
ST               BROWNFIELD, ME 04010


         PLEASE READ THIS NOTICE CAREFULLY. TAKE ACTION TO AVOID THE LOSS OF YOUR PROPERTY.
                                          NOTICE OF DEFAULT - RIGHT TO CURE


Dear Customer(s):
The mortgage loan on your property is in default as a result of your failure to make payments as required by the Note
and Deed of Trust or Mortgage (Security Instrument). We have previously sent you letters and communications
regarding this default in an attempt to resolve this matter. This letter provides information about the default and what
rights you have to cure the default. Select Portfolio Servicing, Inc. (SPS) services your mortgage loan and has been
instructed on behalf of the holder of the promissory note to pursue remedies under the Security Instrument unless you
take action to cure the default before the Cure Date shown below. The Noteholder on your Loan is Federal Home
Loan Mortgage Corporation, as Trustee for the benefit of the Freddie Mac Seasoned Credit Risk Transfer Trust,
Series 2021-2 (c/o Select Portfolio Servicing, Inc., PO Box 65250 Salt Lake City, UT 84165-0250).
This letter provides notice of the following:

The Default
You have failed to make payments under the Note and Security Instrument as shown below. This letter is a formal
demand for payment.

Action Required to Cure the Default
To cure this default, you must pay the Amount Required to Cure $5,883.41 on or before the Cure Date listed below.

Amount Required to Cure the Default
As of the date of this letter, the total amount due and required to cure the default on your loan is $5,883.41 (Amount
Required to Cure) as itemized below:




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May 2, 2024



           �JOHN HALEY
            31726 LAKE DR
            EUSTIS, FL 32736-8696




Account Number:
Property Address: 229 MAIN
ST               BROWNFIELD, ME 04010


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